        Case 1:09-cv-03280-AT Document 201 Filed 09/01/11 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JOHNNY BATES and                              *
PATRICIA MIDDLETON BATES,                     *
                                              *
      Plaintiffs,                             *
                                              *     CIVIL ACTION FILE
v.                                            *
                                              *     NO. 1-09-CV-03280-AT
MICHELIN NORTH AMERICA, INC.,                 *
                                              *
      Defendant.                              *


                 PLAINTIFFS’ MOTION TO EXCLUDE THE
                EXPERT TESTIMONY OF JACK GLAZENER


      Plaintiffs move to exclude the expert testimony of Jack Glazener pursuant to

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Plaintiffs are

contemporaneously filing a memorandum in support of this motion under seal,

which details the legal and factual bases in support.

      Respectfully submitted, this 1st day of September, 2011.



                                       s/ Leigh Martin May
                                       GEORGE W. FRYHOFER III
                                         Georgia Bar No. 279110
                                       LEIGH MARTIN MAY
                                         Georgia Bar No. 473389
                                       J.E. BUTLER III
Case 1:09-cv-03280-AT Document 201 Filed 09/01/11 Page 2 of 4




                             Georgia Bar No. 116955
                           Attorneys for Plaintiffs
                           Butler, Wooten & Fryhofer, LLP
                           2719 Buford Highway
                           Atlanta, Georgia 30324
                           (404) 321-1700
                           E-mail: george@butlerwooten.com
                           E-mail: leigh@butlerwooten.com
                           E-mail: jeb@butlerwooten.com



                           s/ Gary M. Shapiro
                           GARY M. SHAPIRO
                             Georgia Bar No. 637794
                           Attorney for Plaintiffs
                           Law Offices of Gary M. Shapiro
                           400 Galleria Parkway, Suite 1500-20
                           Atlanta, Georgia 30339
                           (770) 817-1444
                           E-mail: shapirolaw@aol.com




                             2
          Case 1:09-cv-03280-AT Document 201 Filed 09/01/11 Page 3 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on September 1, 2011, I electronically filed

PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY OF JACK

GLAZENER with the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorneys of

record:

Robert P. Monyak, Esq.                              Richard K. Hines, V, Esq.
Bonnie M. Lassiter, Esq.                            Elizabeth C. Helm, Esq.
Peters & Monyak, LLP                                Nelson Mullins
One Atlanta Plaza, Suite 2275                       Atlantic Station
950 East Paces Ferry Road NE                        201 17th Street NW, Suite 1700
Atlanta, GA 30326                                   Atlanta, GA 30363

Susan A. Cahoon, Esq.
Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street NE, Suite 2800
Atlanta, GA 30309


      This 1st day of September, 2011.


                                       s/ Leigh Martin May
                                       GEORGE W. FRYHOFER III
                                         Georgia Bar No. 279110
                                       LEIGH MARTIN MAY
                                         Georgia Bar No. 473389
                                       J.E. BUTLER III
                                         Georgia Bar No. 116955
Butler, Wooten & Fryhofer, LLP
2719 Buford Highway
Atlanta, Georgia 30324
       Case 1:09-cv-03280-AT Document 201 Filed 09/01/11 Page 4 of 4




(404) 321-1700
E-mail: george@butlerwooten.com
E-mail: leigh@butlerwooten.com
E-mail: jeb@butlerwooten.com




                                    4
